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                                  8    and Proposed Class
                                  9
                                                            UNITED STATES DISTRICT COURT
                                 10
                                 11                FOR THE SOUTHERN DISTRICT OF CALIFORNIA

                                 12
                                       JULISSA COTA, individually and on         CASE NO.: '20CV1138 BEN WVG
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                                 13    behalf of herself and all others
                                       similarly situated,
                                 14                                                   CLASS ACTION COMPLAINT
                                                       Plaintiff,                  1. VIOLATIONS OF THE
                                 15
                                             vs.                                      AMERICANS WITH
                                 16                                                   DISABILITIES ACT OF 1990, 42
                                 17    BAILEY 44, LLC, a California                   U.S.C. §12181
                                       corporation; and DOES 1 to 10,              2. VIOLATIONS OF THE UNRUH
                                 18    inclusive,                                     CIVIL RIGHTS ACT
                                 19                                                   DEMAND FOR JURY TRIAL
                                                           Defendants.
                                 20
                                 21
                                 22          Plaintiff Julissa Cota (“Plaintiff”), individually and on behalf of all others
                                 23    similarly situated, brings this action based upon her personal knowledge as to
                                 24    herself and their own acts, and as to all other matters upon information and belief,
                                 25    based upon, inter alia, the investigations of her attorneys.
                                 26                                 NATURE OF THE ACTION
                                 27          1.     Plaintiff is a visually impaired and legally blind person who requires
                                 28    screen reading software to read website content using her computer. Plaintiff uses
                                                                               1
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                                  1    the terms “blind” or “visually impaired” to refer to all people with visual
                                  2    impairments who meet the legal definition of blindness in that they have a visual
                                  3    acuity with correction of less than or equal to 20 x 200. Some blind people who
                                  4    meet this definition have limited vision. Others have no vision.
                                  5          2.     Plaintiff, individually and on behalf of those similarly situated persons
                                  6    (hereafter “Class Members”), bring this Class Action to secure redress against
                                  7    Defendant Bailey 44, LLC (“Defendant”) and DOES 1-10, for its failure to design,
                                  8    construct, maintain, and operate its website to be fully and equally accessible to and
                                  9    independently usable by Plaintiff and other blind or visually impaired people.
                                 10    Defendant’s denial of full and equal access to its website, and therefore denial of its
                                 11    products and services offered thereby and in conjunction with its physical location,
                                 12    is a violation of Plaintiff’s rights under the Americans with Disabilities Act
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                                       (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).
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                                 13
                                 14          3.     Because     Defendant’s    website,    https://www.bailey44.com/      the
                                 15    (“Website” or “Defendant’s website”), is not fully or equally accessible to blind and
                                 16    visually impaired consumers in violation of the ADA, Plaintiff seeks a permanent
                                 17    injunction to cause a change in Defendant’s corporate policies, practices, and
                                 18    procedures so that Defendant’s website will become and remain accessible to blind
                                 19    and visually impaired consumers.
                                 20                                      THE PARTIES
                                 21          4.     Plaintiff, at all times relevant and as alleged herein, is a resident of
                                 22    California, County of San Diego. Plaintiff is a legally blind, visually impaired
                                 23    handicapped person, and members of a protected class of individuals under the
                                 24    ADA, pursuant to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the
                                 25    ADA set forth at 28 CFR §§ 36.101 et seq.
                                 26          5.     Defendant Bailey 44, LLC is a California corporation, with its
                                 27    headquarters in Vernon, California. Defendant’s servers for the website are in the
                                 28    United States. Defendant conducts all of its business in California. These stores
                                                                              2
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                                  1    constitute places of public accommodation. Defendant’s stores provide to the
                                  2    public important goods and services. Defendant’s website provides consumers with
                                  3    access to schedule the purchase of an array of spa/hot springs goods and services,
                                  4    including 44-hr Flash Sale, Icons, Jackets, Tops, Dresses, Bottoms, Sale, Shop All,
                                  5    as well as size chart, returns, shipping, and contact us, and information about
                                  6    products and services which are available online and in retail stores for purchase.
                                  7          6.     Plaintiff is unaware of the true names, identities, and capacities of the
                                  8    defendants sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                  9    complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                 10    ascertained. Plaintiff is informed and believes, and thereupon alleges, that each of
                                 11    the defendants sued herein as a DOE is legally responsible in some manner for the
                                 12    events and happenings alleged herein and that each of the defendants sued herein
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                                 13    as a DOE proximately caused injuries and damages to Plaintiff as set forth below.
                                 14          7.     Defendant’s stores are public accommodations within the definition of
                                 15    Title III of the ADA, 42 U.S.C. § 12181(7). https://www.bailey44.com/ is a service,
                                 16    privilege, or advantage of Defendant’s services and products and location.
                                 17                             JURISDICTION AND VENUE
                                 18          8.     This Court has subject matter jurisdiction over the state law claims
                                 19    alleged in Complaint pursuant to Federal Question 28 U.S.C. §1331 because: (a)
                                 20    the matter in controversy arises under federal law; and (b) some of the class
                                 21    members are citizens of a state (throughout the United States) that is different from
                                 22    the state of citizenship of Defendant (California).
                                 23          9.     Defendant is subject to personal jurisdiction in this District. Defendant
                                 24    has been and is committing the acts or omissions alleged herein in the Southern
                                 25    District of California that caused injury, and violated rights prescribed by the ADA
                                 26    and UCRA, to Plaintiff and to other blind and other visually impaired consumers.
                                 27    A substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred
                                 28    in the Southern District of California. Specifically, on several separate occasions,
                                                                                3
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                                  1    Plaintiff has been denied the full use and enjoyment of the facilities, goods, and
                                  2    services of Defendant’s website in San Diego County. The access barriers Plaintiff
                                  3    has encountered on Defendant’s website has caused a denial of Plaintiff’s full and
                                  4    equal access multiple times in the past, and now deter Plaintiff on a regular basis
                                  5    from accessing Defendant’s website. Similarly, the access barriers Plaintiff has
                                  6    encountered on Defendant’s website has impeded Plaintiff’s full and equal
                                  7    enjoyment of goods and services offered at Defendant’s brick-and mortar stores.
                                  8          10.    This Court also has subject matter jurisdiction over this action pursuant
                                  9    to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title
                                 10    III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
                                 11          11.    This Court has personal jurisdiction over Defendant because it
                                 12    conducts and continues to conduct a substantial and significant amount of business
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                                       in the State of California, County of San Diego, and because Defendant’s offending
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                                 13
                                 14    website is available across California.
                                 15          12.    Venue is proper in the Southern District of California pursuant to 28
                                 16    U.S.C. §1391 because Plaintiff resides in this District, Defendant conducts and
                                 17    continues to conduct a substantial and significant amount of business in this District,
                                 18    Defendant is subject to personal jurisdiction in this District, and a substantial
                                 19    portion of the conduct complained of herein occurred in this District.
                                 20      THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 21          13.    The Internet has become a significant source of information, a portal,
                                 22    and a tool for conducting business, doing everyday activities such as shopping,
                                 23    learning, banking, researching, as well as many other activities for sighted, blind
                                 24    and visually impaired persons alike.
                                 25          14.    In today's tech-savvy world, blind and visually impaired people have
                                 26    the ability to access websites using keyboards in conjunction with screen access
                                 27    software that vocalizes the visual information found on a computer screen. This
                                 28    technology is known as screen reading software. Screen reading software is
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                                  1    currently the only method a blind or visually impaired person may use to
                                  2    independently access the internet. Unless websites are designed to be read by screen
                                  3    reading software, blind and visually impaired persons are unable to fully access
                                  4    websites, and the information, products, and services contained thereon.
                                  5          15.    Blind and visually impaired users of Windows operating system-
                                  6    enabled computers and devices have several screen reading software programs
                                  7    available to them. Some of these programs are available for purchase and other
                                  8    programs are available without the user having to purchase the program separately.
                                  9    Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                 10    popular, separately purchased and downloaded screen reading software program
                                 11    available for a Windows computer.
                                 12          16.    For screen reading software to function, the information on a website
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                                 13    must be capable of being rendered into text. If the website content is not capable of
                                 14    being rendered into text, the blind or visually impaired user is unable to access the
                                 15    same content available to sighted users.
                                 16          17.    The international website standards organization, the World Wide
                                 17    Web Consortium, known throughout the world as W3C, has published Success
                                 18    Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 19    hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 20    accessible to blind and visually impaired people. These guidelines are adopted,
                                 21    implemented and followed by most large business entities who want to ensure their
                                 22    websites are accessible to users of screen reading software programs. Though
                                 23    WCAG 2.1 has not been formally adopted as the standard for making websites
                                 24    accessible, it is one of, if not the most, valuable resource for companies to operate,
                                 25    maintain, and provide a website that is accessible under the ADA to the public.
                                 26          18.    Within this context, the Ninth Circuit has recognized the viability of
                                 27    ADA claims against commercial website owners/operators with regard to the
                                 28    accessibility of such websites. Robles v. Domino’s Pizza, LLC, Docket No. 17-
                                                                               5
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                                  1    55504 (9th Cir. Apr 13, 2017), Court Docket No. BL-66. This is in addition to the
                                  2    numerous courts that already recognized such application.
                                  3            19.   Each of Defendant’s violations of the Americans with Disabilities Act
                                  4    is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                  5    Act provides that any violation of the ADA constitutes a violation of the Unruh
                                  6    Civil Rights Act. Cal. Civ. Code, § 51(f).
                                  7            20.   Further, Defendant’s actions and inactions denied Plaintiff full and
                                  8    equal access to their accommodations, facilities, and services. A substantial
                                  9    motivating reason for Defendant to deny Plaintiff access was the perception of
                                 10    Plaintiff’s disability. Defendant’s denial of Plaintiff’s accessibility was a substantial
                                 11    motivating reason for Defendant’s conduct.            Plaintiff was harmed due to
                                 12    Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
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                                 13    in causing the lack of access to Plaintiff. Unruh Civil Rights Act. Cal. Civ. Code,
                                 14    § 51.
                                 15            21.   Inaccessible or otherwise non-compliant websites pose significant
                                 16    access barriers to blind and visually impaired persons. Common barriers
                                 17    encountered by blind and visually impaired persons include, but are not limited to,
                                 18    the following:
                                 19                  a. A text equivalent for every non-text element is not provided;
                                 20                  b. Title frames with text are not provided for identification and
                                 21                     navigation;
                                 22                  c. Equivalent text is not provided when using scripts;
                                 23                  d. Forms with the same information and functionality as for sighted
                                 24                     persons are not provided;
                                 25                  e. Information about the meaning and structure of content is not
                                 26                     conveyed by more than the visual presentation of content;
                                 27                  f. Text cannot be resized without assistive technology up to 200
                                 28                   percent without loss of content or functionality;
                                                                               6
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                                  1               g. If the content enforces a time limit, the user is not able to extend,
                                  2                  adjust or disable it;
                                  3               h. Web pages do not have titles that describe the topic or purpose;
                                  4               i. The purpose of each link cannot be determined from the link text
                                  5                  alone or from the link text and its programmatically determined link
                                  6                  context;
                                  7               j. One or more keyboard operable user interface lacks a mode of
                                  8                  operation where the keyboard focus indicator is discernible;
                                  9               k. The default human language of each web page cannot be
                                 10                  programmatically determined;
                                 11               l. When a component receives focus, it may initiate a change in
                                 12                  context;
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                                 13               m. Changing the setting of a user interface component may
                                 14                  automatically cause a change of context where the user has not been
                                 15                  advised before using the component;
                                 16               n. Labels or instructions are not provided when content requires user
                                 17                  input;
                                 18               o. In content which is implemented by using markup languages,
                                 19                  elements do not have complete start and end tags, elements are not
                                 20                  nested according to their specifications, elements may contain
                                 21                  duplicate attributes and/or any IDs are not unique;
                                 22               p. Inaccessible Portable Document Format (PDFs); and,
                                 23               q. The name and role of all User Interface elements cannot be
                                 24                  programmatically determined; items that can be set by the user
                                 25                  cannot be programmatically set; and/or notification of changes to
                                 26                  these items is not available to user agents, including assistive
                                 27                  technology.
                                 28    ///
                                                                     7
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                                  1                                FACTUAL BACKGROUND
                                  2          22.    Defendant offers the https://www.bailey44.com/ website, Defendant’s
                                  3    Website, to the public.     The website offers features which should allow all
                                  4    consumers to access the goods and services which Defendant offers in connection
                                  5    with its physical location. The goods and services offered by Defendant include,
                                  6    but are not limited to the following, which allow consumers to access: spa/hot
                                  7    springs goods and services, including 44-hr Flash Sale, Icons, Jackets, Tops,
                                  8    Dresses, Bottoms, Sale, Shop All, as well as size chart, returns, shipping, and
                                  9    contact us, and information about products and services which are available online
                                 10    and in retail stores for purchase.
                                 11          23.    Based on information and belief, it is Defendant’s policy and practice
                                 12    to deny Plaintiff and Class Members, along with other blind or visually impaired
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                                       users, access to Defendant’s website, and to therefore, specifically deny the goods
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                                 13
                                 14    and services that are offered and integrated within Defendant’s stores. Due to
                                 15    Defendant’s failure and refusal to remove access barriers on its website, Plaintiff
                                 16    and other visually impaired persons have been and are still being denied equal and
                                 17    full access to Defendant’s stores and the numerous goods, services, and benefits
                                 18    offered to the public through Defendant’s Website.
                                 19                  Defendant’s Barriers on https://www.bailey44.com/
                                 20                        Deny Plaintiff and Class Members’ Access
                                 21          24.    Plaintiff is a visually impaired and legally blind person, who cannot
                                 22    use a computer without the assistance of screen reading software. However,
                                 23    Plaintiff is a proficient user of the JAWS screen-reader as well as Mac’s VoiceOver
                                 24    and   she    uses    both    to      access   the   internet.   Plaintiff   has   visited
                                 25    https://www.bailey44.com/ on several separate occasions using the JAWS and/or
                                 26    VoiceOver screen-readers.
                                 27          25.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                 28    encountered multiple access barriers which denied Plaintiff full and equal access to
                                                                               8
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                                  1    the facilities, goods and services offered to the public and made available to the
                                  2    public on Defendant’s website. Due to the widespread access barriers Plaintiff and
                                  3    Class Members encountered on Defendant’s website, Plaintiff and Class Members
                                  4    have been deterred, on a regular basis, from accessing Defendant’s website.
                                  5    Similarly, the access barriers Plaintiff has encountered on Defendant’s website has
                                  6    deterred Plaintiff and Class Members from visiting Defendant’s brick-and-mortar
                                  7    stores.
                                  8          26.    While attempting to navigate Defendant’s website, Plaintiff and Class
                                  9    Members encountered multiple accessibility barriers for blind or visually impaired
                                 10    people that include, but are not limited to, the following:
                                 11                 a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 12                    is invisible code embedded beneath a graphic or image on a website
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                                 13                    that is read to a user by a screen-reader. For graphics or images to
                                 14                    be fully accessible for screen-reader users, it requires that alt-text
                                 15                    be coded with each graphic or image so that screen reading
                                 16                    software can speak the alt-text to describe the graphic or image
                                 17                    where a sighted user would just see the graphic or image. Alt-text
                                 18                    does not change the visual presentation, but instead a text box
                                 19                    shows when the cursor hovers over the graphic or image. The lack
                                 20                    of alt-text on graphics and images prevents screen-readers from
                                 21                    accurately vocalizing a description of the image or graphic. As a
                                 22                    result, Plaintiff and Class Members who are blind and visually
                                 23                    impaired customers are unable to determine 44-hr Flash Sale,
                                 24                    Icons, Jackets, Tops, Dresses, Bottoms, Sale, Shop All, as well as
                                 25                    size chart, returns, shipping, and contact us; find Defendant’s store
                                 26                    location, check out Defendant’s holiday sales and/or discounts, or
                                 27                    complete any purchases;
                                 28    ///
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                                  1                b. Empty Links that contain No Text causing the function or purpose
                                  2                   of the link to not be presented to the user. This can introduce
                                  3                   confusion for keyboard and screen-reader users;
                                  4                c. Redundant Links where adjacent links go to the same URL address
                                  5                   which results in additional navigation and repetition for keyboard
                                  6                   and screen-reader users; and
                                  7                d. Linked Images missing alt-text, which causes problems if an image
                                  8                   within a link does not contain any descriptive text and that image
                                  9                   does not have alt-text. A screen reader then has no content to
                                 10                   present the user as to the function of the link, including information
                                 11                   or links for and contained in PDFs.
                                 12         27.    Recently in 2020, Plaintiff attempted to do business with Defendant
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                                      on Defendant’s website and Plaintiff encountered barriers to access on Defendant’s
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                                 13
                                 14   website.
                                 15         28.    Despite past and recent attempts to do business with Defendant on its
                                 16   website, the numerous access barriers contained on the website and encountered by
                                 17   Plaintiff, has denied Plaintiff full and equal access to Defendant’s website. Plaintiff
                                 18   and Class Members, as a result of the barriers on Defendant’s website, continue to
                                 19   be deterred on a regular basis from accessing Defendant’s website. Likewise, based
                                 20   on the numerous access barriers Plaintiff and Class Members have been deterred
                                 21   and impeded from the full and equal enjoyment of goods and services offered in
                                 22   Defendant’s stores and from making purchases at such physical location.
                                 23                   Defendant Must Remove Barriers to Its Website
                                 24         29.    Due to the inaccessibility of the Defendant’s website, blind and
                                 25   visually impaired customers such as Plaintiff, who needs a screen-reader, cannot
                                 26   fully and equally use or enjoy the facilities and services Defendant offers to the
                                 27   public on its website. The access barriers Plaintiff encountered has caused a denial
                                 28   ///
                                                                   10
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                                  1   of Plaintiff’s full and equal access in the past, and now deters Plaintiff on a regular
                                  2   basis from accessing the website.
                                  3         30.    These access barriers on the Defendant’s website have deterred the
                                  4   Plaintiff from visiting Defendant’s physical location, and enjoying them equal to
                                  5   sighted individuals because: Plaintiff was unable to find the location and hours of
                                  6   operation of Defendant’s location on its website, preventing Plaintiff from visiting
                                  7   the location to view and purchase products and/or services. Plaintiff and Class
                                  8   Members intend to visit Defendant’s location in the near future if Plaintiff and Class
                                  9   Members could access Defendant’s website.
                                 10         31.    If the website were equally accessible to all, Plaintiff and Class
                                 11   Members could independently navigate the website and complete a desired
                                 12   transaction, as sighted individuals do.
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                                 13         32.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                 14   knowledge of the access barriers that makes these services inaccessible and
                                 15   independently unusable by blind and visually impaired people.
                                 16         33.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                 17   and Class Members who are visually impaired consumers with equal access to the
                                 18   website, Plaintiff and Class Members allege that Defendant engaged in acts of
                                 19   intentional discrimination, including, but not limited to, the following policies or
                                 20   practices: constructing and maintaining a website that is inaccessible to visually
                                 21   impaired individuals, including Plaintiff and Class Members; failing to construct
                                 22   and maintain a website that is sufficiently intuitive so as to be equally accessible to
                                 23   visually impaired individuals, including Plaintiff and Class Members; and failing to
                                 24   take actions to correct these access barriers in the face of substantial harm and
                                 25   discrimination to blind and visually impaired consumers, such as Plaintiff and Class
                                 26   Members, as a member of a protected class.
                                 27   ///
                                 28   ///
                                                                   11
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1         34.    The Defendant uses standards, criteria or methods of administration
                                  2   that have the effect of discriminating or perpetuating the discrimination against
                                  3   others, as alleged herein.
                                  4         35.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                  5   seeks in this action. In relevant part, the ADA requires:
                                  6
                                  7         In the case of violations of … this title, injunctive relief shall include
                                            an order to alter facilities to make such facilities readily accessible to
                                  8         and usable by individuals with disabilities …. Where appropriate,
                                  9         injunctive relief shall also include requiring the … modification of a
                                            policy …. 42 U.S.C. § 12188(a)(2).
                                 10
                                 11         36.    Because Defendant’s website has never been equally accessible, and
                                 12   because Defendant lacks a corporate policy that is reasonably calculated to cause
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                                      the Defendant’s website to become and remain accessible, Plaintiff invokes 42
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                                 13
                                 14   U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the defendant to
                                 15   retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                 16   with WCAG 2.1 guidelines for Defendant’s website. The website must be
                                 17   accessible for individuals with disabilities who use desktop computers, laptops,
                                 18   tablets, and smartphones. Plaintiff and Class Members seek that this permanent
                                 19   injunction require Defendant to cooperate with the agreed-upon consultant to: train
                                 20   Defendant’s employees and agents who develop the website on accessibility
                                 21   compliance under the WCAG 2.1 guidelines; regularly check the accessibility of
                                 22   the website under the WCAG 2.1 guidelines; regularly test user accessibility by
                                 23   blind or vision-impaired persons to ensure that the Defendant’s website complies
                                 24   under the WCAG 2.1 guidelines; and develop an accessibility policy that is clearly
                                 25   disclosed on the Defendant’s website, with contact information for users to report
                                 26   accessibility-related problems and require that any third-party vendors who
                                 27   participate on the Defendant’s website to be fully accessible to the disabled by
                                 28   conforming with WCAG 2.1.
                                                                   12
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                                  1         37.    If Defendant’s website were accessible, Plaintiff and Class Members
                                  2   could independently access information about location addresses and hours,
                                  3   services offered and services available for online purchase.
                                  4         38.    Although Defendant may currently have centralized policies regarding
                                  5   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                  6   reasonably calculated to make Defendant’s website fully and equally accessible to,
                                  7   and independently usable by, blind and other visually impaired consumers.
                                  8         39.    Defendant has, upon information and belief, invested substantial sums
                                  9   in developing and maintaining Defendant’s website, and Defendant has generated
                                 10   significant revenue from Defendant’s website. These amounts are far greater than
                                 11   the associated cost of making Defendant’s website equally accessible to visually
                                 12   impaired customers.
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                                 13         40.    Without injunctive relief, Plaintiff and Class Members will continue to
                                 14   be unable to independently use Defendant’s website, violating their rights.
                                 15                          CLASS ACTION ALLEGATIONS
                                 16         41.    Plaintiff, on behalf of herself and all others similarly situated, seeks to
                                 17   certify a Nationwide Class under Fed. R. Civ. P. 23(a) and 23(b)(2), the Nationwide
                                 18   Class is initially defined as follows:
                                 19
                                 20         all legally blind individuals who have attempted to access Defendant’s
                                            website by the use of a screen reading software during the applicable
                                 21         limitations period up to and including final judgment in this action.
                                 22
                                            42.    The California class is initially defined as follows:
                                 23
                                 24
                                            all legally blind individuals in the State of California who have
                                 25         attempted to access Defendant’s website by the use of a screen reading
                                 26         software during the applicable limitations period up to and including
                                            final judgment in this action.
                                 27
                                 28   ///
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                                  1         43.    Excluded from each of the above Classes is Defendant, including any
                                  2   entity in which Defendant has a controlling interest, is a parent or subsidiary, or
                                  3   which is controlled by Defendant, as well as the officers, directors, affiliates, legal
                                  4   representatives, heirs, predecessors, successors, and assigns of Defendant. Also
                                  5   excluded are the judge and court personnel in this case and any members of their
                                  6   immediate families. Plaintiff reserves the right to amend the Class definitions if
                                  7   discovery and further investigation reveal that the Classes should be expanded or
                                  8   otherwise modified.
                                  9         44.    Numerosity. Fed. R. Civ. P. 23(a)(1). This action has been brought and
                                 10   may properly be maintained as a class action against Defendant under Rules
                                 11   23(b)(1)(B) and 23(b)(3) of the Federal Rules of Civil Procedure. While the exact
                                 12   number and identities of other Class Members are unknown to Plaintiff at this time,
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                                 13   Plaintiff is informed and believes that there are hundreds of thousands of Members
                                 14   in the Class. Based on the number of customers who have visited Defendant’s
                                 15   California stores, it is estimated that the Class is composed of more than 10,000
                                 16   persons. Furthermore, even if subclasses need to be created for these consumers, it
                                 17   is estimated that each subclass would have thousands of Members. The Members
                                 18   of the Class are so numerous that joinder of all Members is impracticable and the
                                 19   disposition of their claims in a class action rather than in individual actions will
                                 20   benefit the parties and the courts.
                                 21         45.    Typicality: Plaintiff’s and Class Members’ claims are typical of the
                                 22   claims of the Members of the Class as all Members of the Class are similarly
                                 23   affected by Defendant’s wrongful conduct, as detailed herein.
                                 24         46.    Adequacy: Plaintiff will fairly and adequately protect the interests of
                                 25   the Members of the Class in that they have no interests antagonistic to those of the
                                 26   other Members of the Class. Plaintiff has retained experienced and competent
                                 27   counsel.
                                 28   ///
                                                                   14
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                                  1         47.    Superiority: A class action is superior to other available methods for
                                  2   the fair and efficient adjudication of this controversy. Since the damages sustained
                                  3   by individual Class Members may be relatively small, the expense and burden of
                                  4   individual litigation makes it impracticable for the Members of the Class to
                                  5   individually seek redress for the wrongful conduct alleged herein. Furthermore, the
                                  6   adjudication of this controversy through a class action will avoid the potentially
                                  7   inconsistent and conflicting adjudications of the claims asserted herein. There will
                                  8   be no difficulty in the management of this action as a class action. If Class treatment
                                  9   of these claims were not available, Defendant would likely unfairly receive
                                 10   thousands of dollars or more in improper revenue.
                                 11         48.    Common Questions Predominate: Common questions of law and fact
                                 12   exist as to all Members of the Class and predominate over any questions solely
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                                 13   affecting individual Members of the Class. Among the common questions of law
                                 14   and fact applicable to the Class are:
                                 15                    i. Whether Defendant’s website, https://www.bailey44.com/, is
                                 16                       inaccessible to the visually impaired who use screen reading
                                 17                       software to access internet websites;
                                 18                   ii. Whether Plaintiff and Class Members have been unable to
                                 19                       access https://www.bailey44.com/ through the use of screen
                                 20                       reading software;
                                 21                  iii. Whether the deficiencies in Defendant’s website violate the
                                 22                       Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et
                                 23                       seq.;
                                 24                  iv. Whether the deficiencies in Defendant’s website violate the
                                 25                       California Unruh Civil Rights Act, California Civil Code § 51
                                 26                       et seq.;
                                 27   ///
                                 28   ///
                                                                   15
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                                  1                   v. Whether, and to what extent, injunctive relief should be imposed
                                  2                       on Defendant to make https://www.bailey44.com/ readily
                                  3                       accessible to and usable by visually impaired individuals;
                                  4                  vi. Whether Plaintiff and Class Members are entitled to recover
                                  5                       statutory damages with respect to Defendant’s wrongful
                                  6                       conduct; and
                                  7                  vii. Whether further legal and/or equitable relief should be granted
                                  8                       by the Court in this action.
                                  9         49.    The class is readily definable, and prosecution of this action as a Class
                                 10   action will reduce the possibility of repetitious litigation. Plaintiff knows of no
                                 11   difficulty which will be encountered in the management of this litigation which
                                 12   would preclude their maintenance of this matter as a Class action.
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                                 13         50.    The prerequisites to maintaining a class action for injunctive relief or
                                 14   equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
                                 15   to act on grounds generally applicable to the Class, thereby making appropriate final
                                 16   injunctive or equitable relief with respect to the Class as a whole.
                                 17         51.    The prerequisites to maintaining a class action for injunctive relief or
                                 18   equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
                                 19   common to the Class predominate over any questions affecting only individual
                                 20   Members; and a class action is superior to other available methods for fairly and
                                 21   efficiently adjudicating the controversy.
                                 22         52.    The prosecution of separate actions by Members of the Class would
                                 23   create a risk of establishing inconsistent rulings and/or incompatible standards of
                                 24   conduct for Defendant. Additionally, individual actions may be dispositive of the
                                 25   interests of all Members of the Class, although certain Class Members are not
                                 26   parties to such actions.
                                 27         53.    Defendant’s conduct is generally applicable to the Class as a whole
                                 28   and Plaintiff seeks, inter alia, equitable remedies with respect to the Class as a
                                                                               16
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                                  1   whole. As such, Defendant’s systematic policies and practices make declaratory
                                  2   relief with respect to the Class as a whole appropriate.
                                  3                                        COUNT I
                                  4    Violations of the Americans With Disabilities Act, 42 U.S.C. § 12181 et seq.
                                  5         (On Behalf of Plaintiff, the Nationwide Class and the California Class)
                                  6         54.    Plaintiff alleges and incorporates herein by reference each and every
                                  7   allegation contained in paragraphs 1 through 50, inclusive, of this Complaint as if
                                  8   set forth fully herein.
                                  9         55.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                 10   provides: “No individual shall be discriminated against on the basis of disability in
                                 11   the full and equal enjoyment of the goods, services, facilities, privileges,
                                 12   advantages, or accommodations of any place of public accommodation by any
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                                 13   person who owns, leases (or leases to), or operates a place of public
                                 14   accommodation.” 42 U.S.C. § 12182(a).
                                 15         56.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                 16   discrimination also includes, among other things: “a failure to make reasonable
                                 17   modifications in policies, practices, or procedures, when such modifications are
                                 18   necessary to afford such goods, services, facilities, privileges, advantages, or
                                 19   accommodations to individuals with disabilities, unless the entity can demonstrate
                                 20   that making such modifications would fundamentally alter the nature of such goods,
                                 21   services, facilities, privileges, advantages or accommodations”; and “a failure to
                                 22   take such steps as may be necessary to ensure that no individual with a disability is
                                 23   excluded, denied services, segregated or otherwise treated differently than other
                                 24   individuals because of the absence of auxiliary aids and services, unless the entity
                                 25   can demonstrate that taking such steps would fundamentally alter the nature of the
                                 26   good, service, facility, privilege, advantage, or accommodation being offered or
                                 27   would result in an undue burden”. 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 28   accommodation shall take those steps that may be necessary to ensure that no
                                                                           17
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                                  1   individual with a disability is excluded, denied services, segregated or otherwise
                                  2   treated differently than other individuals because of the absence of auxiliary aids
                                  3   and services, unless the public accommodation can demonstrate that taking those
                                  4   steps would fundamentally alter the nature of the goods, services, facilities,
                                  5   privileges, advantages, or accommodations being offered or would result in an
                                  6   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In order
                                  7   to be effective, auxiliary aids and services must be provided in accessible formats,
                                  8   in a timely manner, and in such a way as to protect the privacy and independence
                                  9   of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                 10         57.    Defendant’s store location is a “public accommodation” within the
                                 11   meaning of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in
                                 12   revenue from the sale of its amenities and services, privileges, advantages, and
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                                 13   accommodations in California through its location and related services, privileges,
                                 14   advantages, and accommodations and its Website. https://www.bailey44.com/ is a
                                 15   service, privilege, advantage, and accommodation provided by Defendant that is
                                 16   inaccessible to customers who are visually impaired like Plaintiff.               This
                                 17   inaccessibility denies visually impaired customers full and equal enjoyment of and
                                 18   access to the facilities and services, privileges, advantages, and accommodations
                                 19   that Defendant made available to the non-disabled public. Defendant is violating
                                 20   the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., in that Defendant
                                 21   denies visually impaired customers the services, privileges, advantages, and
                                 22   accommodations provided by https://www.bailey44.com/. These violations are
                                 23   ongoing.
                                 24         58.    Defendant’s actions constitute intentional discrimination against
                                 25   Plaintiff and Class Members on the basis of a disability in violation of the
                                 26   Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. in that: Defendant has
                                 27   constructed a website that is inaccessible to Plaintiff and Class Members; maintains
                                 28   the website in this inaccessible form; and has failed to take adequate actions to
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                                  1   correct these barriers even after being notified of the discrimination that such
                                  2   barriers cause.
                                  3         59.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                  4   set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                  5                                        COUNT II
                                  6    Violations of the Unruh Civil Rights Act, California Civil Code § 51 et seq.
                                  7                     (On Behalf of Plaintiff and the California Class)
                                  8         60.    Plaintiff alleges and incorporates herein by reference each and every
                                  9   allegation contained in paragraphs 1 through 50, inclusive, of this Complaint as if
                                 10   set forth fully herein.
                                 11         61.    Defendant’s location is a “business establishment” within the meaning
                                 12   of the California Civil Code § 51 et seq. Defendant generates millions of dollars in
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                                 13   revenue from the sale of its services in California through its store’s location and
                                 14   related services and https://www.bailey44.com/ is a service provided by Defendant
                                 15   that is inaccessible to customers who are visually impaired like Plaintiff and Class
                                 16   Members. This inaccessibility denies visually impaired customers full and equal
                                 17   access to Defendant’s facilities and services that Defendant makes available to the
                                 18   non-disabled public. Defendant is violating the Unruh Civil Rights Act, California
                                 19   Civil Code § 51 et seq., in that Defendant is denying visually impaired customers
                                 20   the services provided by https://www.bailey44.com/. These violations are ongoing.
                                 21         62.    Defendant’s actions constitute intentional discrimination against
                                 22   Plaintiff and Class Members on the basis of a disability in violation of the Unruh
                                 23   Civil Rights Act, Cal. Civil Code § 51 et seq. in that: Defendant has constructed a
                                 24   website that is inaccessible to Plaintiff and Class Members; maintains the website
                                 25   in this inaccessible form; and has failed to take adequate actions to correct these
                                 26   barriers even after being notified of the discrimination that such barriers cause.
                                 27         63.    Defendant is also violating the Unruh Civil Rights Act, California
                                 28   Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                                                             19
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                                  1   violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                  2   of the California Civil Code provides that a violation of the right of any individual
                                  3   under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                  4         64.    The actions of Defendant were and are in violation of the Unruh Civil
                                  5   Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff and Class
                                  6   Members are entitled to injunctive relief remedying the discrimination.
                                  7         65.    Plaintiff and Class Members are also entitled to statutory minimum
                                  8   damages pursuant to California Civil Code § 52 for each and every offense.
                                  9         66.    Plaintiff and Class Members are also entitled to reasonable attorneys’
                                 10   fees and costs.
                                 11         67.    Plaintiff and Class Members are also entitled to a preliminary and
                                 12   permanent injunction enjoining Defendant from violating the Unruh Civil Rights
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                                 13   Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                 14   necessary to make https://www.bailey44.com/ readily accessible to and usable by
                                 15   visually impaired individuals.
                                 16                                PRAYER FOR RELIEF
                                 17         WHEREFORE, Plaintiff, individually and on behalf of all Class Members,
                                 18   respectfully requests that the Court enter judgment in her favor and against
                                 19   Defendant as follows:
                                 20         A.     For an Order certifying the Nationwide Class and California Class as
                                 21                defined herein and appointing Plaintiff and her Counsel to represent
                                 22                the Nationwide Class and the California Class;
                                 23         B.     A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 24                12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                 25                enjoining Defendant from violating the Unruh Civil Rights Act and
                                 26                ADA and requiring Defendant to take the steps necessary to make
                                 27                https://www.bailey44.com/ readily accessible to and usable by
                                 28             visually impaired individuals;
                                                                           20
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                                  1         C.     An award of statutory minimum damages of $4,000 per offense per
                                  2                person pursuant to section 52(a) of the California Civil Code.
                                  3         D.     For attorneys’ fees and expenses pursuant to California Civil Code
                                  4                §§ 52(a), 52.1(h), and 42 U.S.C. § 12205;
                                  5         E.     For pre-judgment interest to the extent permitted by law;
                                  6         F.     For costs of suit; and;
                                  7         G.     For such other and further relief as the Court deems just and proper.
                                  8                             DEMAND FOR JURY TRIAL
                                  9         Plaintiff, on behalf of herself and all others similarly situated, hereby
                                 10   demands a jury trial for all claims so triable.
                                 11
                                 12   Dated: June 22, 2020                              Respectfully Submitted,
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                                 13
                                 14
                                 15                                                     /s/ Thiago M. Coelho
                                                                                        Thiago M. Coelho
                                 16                                                     Bobby Saadian
                                 17                                                     WILSHIRE LAW FIRM
                                                                                        Attorneys for Plaintiff
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